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 4
     Attorney for Defendant
 5   NAVPREET SINGH
 6
                                   UNITED STATES DISTRICT COURT
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                              )
                                                            )      2:10 CR 0347-05 MCE
10                                  Plaintiff,              )
                                                            )     Stipulation and Order
11                                                          )     Modifying Conditions of Release
                            vs.                             )
12                                                          )
     NAVPREET SINGH,                                                )
13                                                          )
                                    Defendant.             )
14
            Navpreet Singh, by and through his attorney, John R. Manning, and the United States of
15
     America, by and through its counsel, Todd D. Leras, and Pretrial Services Officer Renee
16
     Basurto, hereby jointly agree and stipulate to amend defendant’s conditions of release. The
17   modification stipulated to herein is requested in light of Mr. Singh's two positive tests for
18   marijuana (and several negative tests) .
19          Therefore, condition number 14 shall be added to the defendant’s conditions of release,
20   and read:
21          (14) You shall participate in a cognitive behavior treatment program as directed by the
22   pretrial services officer. Such programs may include group sessions led by a counselor or
23   participation in a program administered by the Pretrial Services office.
24          Accordingly, all parties and Mr. Singh agree with the above modifications.
25   ///

26   ///

27   ///

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 1   Dated: October 25, 2011             Respectfully submitted,
 2
                                         /s/ John R. Manning
 3                                       JOHN R. MANNING
                                         Attorney for Defendant
 4                                       Navpreet Singh

 5                                       /s/ Todd D. Leras
                                         TODD D. LERAS
 6                                       Assistant U.S. Attorney

 7   IT IS SO ORDERED.

 8   Dated: October 26, 2011.
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